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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
V.
JEREMY RODGERS, Case No. 1:23-cr-00330 (TNM)

Defendant.

VERDICT

For the reasons stated in the oral ruling on December 12, 2024, based on the evidence
presented in the record, the Court finds the defendant, Jeremy Rodgers, GUILTY beyond a
reasonable doubt on the following charges in the Superseding Indictment, ECF No. 52:

As to Count 1, the charge of committing or attempting to commit an act to obstruct,
impede, and interfere with a law enforcement officer lawfully engaged in the performance of his
official duties, incident to and during the commission of a civil disorder which in any way
obstructed, delayed, and adversely affected commerce and the movement of any article and
commodity in commerce and the conduct and performance of any federally protected function, in
violation of 18 U.S.C. § 231(a)(3);

As to Count 2, the charge of forcibly assaulting, resisting, opposing, impeding,
intimidating, and interfering with, and inflicting bodily injury on, a certain officer of the United
States while engaged in and on account of the performance of official duties, and where such
acts involved physical contact with the victim and the intent to commit another felony, in
violation of 18 U.S.C. § 111(a)(1) and (b);

As to Count 3, the charge of knowingly entering and remaining in a restricted building

and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United
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States Capitol and its grounds, where the Vice President was and would be temporarily visiting,
without lawful authority to do so, in violation of 18 U.S.C. § 1752(a)(1);

As to Count 4, the charge of knowingly and with the intent to impede and disrupt the
orderly conduct of Government business and official functions, engaging in disorderly and
disruptive conduct in and within such proximity to a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
grounds, where the Vice President was temporarily visiting, when and so that such conduct did
in fact impede and disrupt the orderly conduct of Government business and official functions, in
violation of 18 U.S.C. § 1752(a)(2);

As to Count 5, the charge of knowingly engaging in an act of physical violence against
any person and property in a restricted building and grounds, that is, any posted, cordoned-off,
and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting, in violation of 18 U.S.C. § 1752(a)(4);

As to Count 6, the charge of willfully and knowingly engaging in disorderly and
disruptive conduct within the United States Capitol Grounds and in any of the Capitol Buildings
with the intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and
either House of Congress, in violation of 40 U.S.C. § 5104(e)(2)(D).

As to Count 7, the charge of willfully and knowingly engaging in an act of physical
violence within the United States Capitol Grounds and any of the Capitol Buildings, in violation
of 40 U.S.C. § 5104(e)(2)(F).

As to Count 8, the charge of willfully and knowingly parading, demonstrating, and

picketing in any United States Capitol Building, in violation of 40 U.S.C. § 5104(e)(2)(G).
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However, for the reasons stated in the oral ruling on December 12, 2024, based on the
evidence presented in the record, the Court finds the defendant, Jeremy Rodgers, NOT GUILTY
as to the felony enhancement of Count 3, the charge of using or carrying a deadly and dangerous
weapon during and in relation to the offense, in violation of 18 U.S.C. § 1752(b)(1)(A); the
felony enhancement of Count 4, the charge of using or carrying a deadly and dangerous weapon
during and in relation to the offense, in violation of 18 U.S.C. § 1752(b)(1)(A); and the felony
enhancement of Count 5, the charge of using or carrying a deadly and dangerous weapon during
and in relation to the offense, in violation of 18 U.S.C. § 1752(b)(1)(A).

SO ORDERED.

Dated: December 16, 2024 TREVOR N. McFADDEN, U.S.D.J.
